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                                                                             United States District Court
                                                                               Southern District of Texas

                                                                                  ENTERED
                                                                                January 03, 2020
                                                                               David J. Bradley, Clerk

                     UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION

        HICHEM CHIHI, ex rel,       §      CIVIL ACTION NO.
                 Plaintiff-relator, §      4:18-cv-00123
                                    §
                                    §
             vs.                    §      JUDGE CHARLES ESKRIDGE
                                    §
                                    §
        CATHOLIC HEALTH             §
        INITIATIVES, et al,         §
                    Defendants. §

                                    ORDER

           Before the Court is a corrected motion to strike paragraphs
       from the first and second amended complaints by defendants
       Catholic Health Initiatives and Chi-St. Luke’s Health. Dkt 257.
       Defendants have requested leave to file the corrected motion
       under seal. Dkt 258.
            The Court granted leave to file the original motion under seal
       at the December 4, 2019 status conference. The Court finds that
       the corrected motion to strike is substantially similar to the
       original motion to strike. Dkt 172.
           The motion for leave to file the corrected motion under seal
       is GRANTED.
            At the status conference, the Court ordered the parties to
       submit a proposed briefing schedule and word limits for any
       renewed motions to dismiss. This deadline passed on December
       13, 2019.
           The Court finds that the outcome of the motion to strike will
       affect defendants’ motion to dismiss as well as plaintiff’s
       response.
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          The deadline to submit a proposed briefing schedule and
       word limits is STAYED pending a ruling on the motion to strike.
           SO ORDERED.


           Signed on January 3, 2020, at Houston, Texas.



                                   Hon. Charles Eskridge
                                   United States District Judge




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